                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                                  1:06CR165


UNITED STATES OF AMERICA,                        )
                                                 )
Vs.                                              )            ORDER
                                                 )
ERIC WILLIAM LAUGHTER,                           )
                                                 )
                 Defendant.                      )
__________________________________               )


        BASED upon an oral motion made by the defendant’s counsel, Ronald True, and for

other good cause shown therein, it is ORDERED that the arrangement and detention hearing

in this matter be continued until the August 25, 2006.




                                             Signed: August 28, 2006




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